Case 2:O4-cv-O2975-BBD-dkv Document 22 Filed 05/11/05 Page 1 of 2 Page|D 19

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IN THE UNITED sTATEs DISTRICT coURT “` ef/
FoR THE wEsTERN DISTRICT oF TENNESSEE q _\W P. .55
qui.¢-n \| _E‘E 2-
wEsTERN DIvIsIoN

 

 

STEVEN N. EDWARDS,
Plaintiff,
vs. Civ. No. 04-2975-D[P

DAIMLERCHRYSLER CORPORATION,

Defendant.

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ORDER OF TRANSFER

 

By' reason. cf the transfer of case No. 04-2391-D Barbara
Willingham v. Hcme Tech Services Company, et al., from Magistrate
Judge Diane Vescovo to the undersigned and in order to maintain a
balanced number Of references handled by the magistrate judges,
this case is hereby transferred tc Magistrate Judge Diane Vescovo
for further references and assignments.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

§/H 107

Date l

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Honorable Bernice Donald
US DISTRICT COURT

